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                                                                                                 United States Bankruptcy Court
                                UNITED STATES BANKRUPTCY COURT                                       Southern District of Texas
                                  SOUTHERN DISTRICT OF TEXAS                                            ENTERED
                                                                                                 December 29, 2023
In Re:   Joanna Burke                                                           Case No.: 23−35083
                                                                                                     Nathan Ochsner, Clerk
         Debtor                                                                 Chapter: 13



              INITIAL ORDER FOR CASE MANAGEMENT OF CHAPTER 13 CASE

The following are orders of the Court:

     1. Payment of the Filing Fee.

             a. The debtor(s) shall pay the filing fee with the petition or promptly on the due date provided
                in an order allowing installment payments.

             b. If the filing fee or any installment is not timely paid, the Clerk shall issue a notice of pending
                dismissal of the case for failure to pay filing fees. The notice of pending dismissal shall be
                served on the debtor(s), debtor(s)' counsel and the chapter 13 Trustee.

             c. If the debtor(s) do not pay the filing fee or request a hearing within 10 days after the notice is
                served, the case may be dismissed without further notice.

     2. Filing the List of Creditors, Plan, Schedules and Statements.

             a. The list of creditors (with addresses) must be filed with the petition in the format prescribed
                by the Clerk unless a motion for extension of time under Federal Rule of Bankruptcy
                Procedure (FRBP) 1007(a)(4) is filed with the petition.

             b. A motion for extension of time to file the list of creditors, plan, schedules or statements need
                be served only on the chapter 13 Trustee and on the U.S. Trustee. Because the FRBP require
                a creditor's meeting within 50 days, except for truly exceptional circumstances, the Court will
                not grant an extension beyond 25 days for filing the plan, schedules or statements.

             c. If the U.S. Trustee files a motion to dismiss under Bankruptcy Code §1307(c)(9) or (10), or if
                the chapter 13 Trustee files a motion to dismiss for delay prejudicial to creditors and the basis
                of that motion is that the debtor(s) failed to file the papers required by Bankruptcy Code §521
                or failed to file a plan in accordance with FRBP 3015, the motion need not be served on any
                party except the debtor(s) and, if the debtor(s) are represented by counsel, on debtor(s)'
                counsel.

             d. If either the U.S. Trustee or the chapter 13 Trustee files a motion to dismiss under
                subparagraph (c) above, the motion need not include BLR 9013 language but shall include
                the following notice:

                  A hearing will be conducted on this matter on [insert date of next chapter 13 panel following
                  expiration of 15 days] at _____ a.m. If the debtor(s) object to the requested relief, the
                  debtor(s) and counsel must attend the hearing. If no party objects to the requested relief
                  within (ten) 10 days after the date that the motion was served, the United States Trustee or
                  the chapter 13 Trustee may file a certificate of non−compliance and the Court may dismiss
                  this case without actually conducting a hearing. (Bankruptcy Code §102(1)(B).)

     3. Confirmation Hearings.

             a. Confirmation hearings will be continued beyond the initial setting only for good cause
                shown. A motion for continuance shall be filed setting forth the basis of the cause for the
                requested continuance. The chapter 13 Trustee is not authorized to grant a continuance of the
                confirmation hearing. Only the Court may grant a continuance of the confirmation hearing.

             b. Absent exceptional circumstances, the hearing on confirmation of the debtor(s) plan will not
                be continued to a date that is after 180 days after the commencement of the chapter 13 case.
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            c. At least 5 days before confirmation, the chapter 13 Trustee shall submit a recommendation
               (which may be in summary chart form for all cases set for confirmation on a particular date)
               as to whether plans should be confirmed. The Court will not be bound by the chapter 13
               Trustee's recommendation for or against confirmation. If the chapter 13 Trustee has
               recommended in favor of confirmation and if there are no objections to be considered at
               confirmation, the debtor(s) and debtor(s)' counsel need not attend. If the Court determines
               that a hearing is required on a plan for which confirmation is recommended by the trustee and
               on which no other objections were filed, the hearing will be rescheduled with notice to the
               debtor(s) and debtor(s)' counsel. If the chapter 13 Trustee has not recommended
               confirmation, the debtor(s) and debtor(s)' counsel must attend the hearing and meet the
               debtor(s)' statutory confirmation burden, except that attendance in the circumstances set forth
               in §7, §8, §9(b) and §9(c) below shall be according to those sections.

    4. Parties Required to Attend Hearings. This section applies to hearings that are set on the
       chapter 13 trustee's scheduled panel.

            a. If a matter has been resolved concerning a motion or an objection, the parties may designate
               counsel for one of the settling parties to announce the settlement. Other counsel may, but are
               not required, to attend. If no person announces the settlement, the motion or objection may be
               denied for want of prosecution.

            b. If the Court declines to accept the announced agreement, the matter may be continued until
               the next chapter 13 panel date or the Court may make another disposition. All parties to the
               objection (i.e., the objecting party, the debtor(s) and the chapter 13 Trustee) must attend the
               continued hearing.

    5. Tax Transcripts. The Internal Revenue Service must send a tax transcript to the chapter 13 trustee,
       the debtors and the debtor's counsel, with detrainry to occur not later than 7 days prior to the initial
       date set for the §341 meeting of creditors.

    6. Service of this Order. A copy of this Order shall promptly be served by the Clerk on parties in
       interest, including the debtor(s) and debtor(s)' counsel and the United States Internal Revenue
       Service. The Internal Revenue Service shall be served at the addresses provided by them from
       time-to-time to the Clerk.


THIS ORDER IS EFFECTIVE, IN EACH CASE, ON THE DATE THE ORDER IS ENTERED IN
THAT CASE.

ISSUED AND ENTERED ON 12/29/23
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                                  UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF TEXAS

In Re:     Joanna Burke                                                          Case No.: 23−35083

           Debtor                                                                Chapter: 13



                INITIAL ORDER OUTLINING DEBTORS' INITIAL RESPONSIBILITIES

         The debtor(s) are ordered to:

         1. Make all payments due to the chapter 13 trustee. The first payment is due not later than 30 days
            after the petition date.

         2. File a proposed plan within 15 days, unless the plan was filed with the petition.

         3. File a proposed Wage Order, Order for EFT Payments (online banking), or Order for ACH
            Payments in compliance with Local Rule 1007-1(c).

         4. File all schedules and the statement of financial affairs within 15 days, unless these documents
            were filed with the petition.

         5. Attend the § 341 meeting of creditors as scheduled by the chapter 13 trustee.

         6. Attend the debtor education seminar within 45 days.

         7. Immediately file all delinquent tax returns.

         8. Comply with all Court orders.

       Failure to comply with this order is likely to result in a dismissal of this bankruptcy case. It may also
result in a prohibition against the filing of additional bankruptcy cases or a finding that the debtor(s) are in
contempt of court.

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                                            Form No. 13−9
                                  UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF TEXAS

In Re:     Joanna Burke                                                            Case No.: 23−35083

           Debtor                                                                  Chapter: 13



                    ORDER AUTHORIZING USE OF VEHICLES PURSUANT TO §363
                    AND PROVIDING ADEQUATE PROTECTION TO LIEN HOLDERS

      1.      The Debtor(s) are authorized to use their vehicle(s) pursuant to § 363 of the Bankruptcy Code,
conditioned on the following:

         A.       The Debtor(s) must maintain insurance on the vehicle(s) in the amounts and with the
         coverages pertaining to the vehicle itself required by the contract with any holder of a pre-petition lien
         on the vehicle(s).

         B.       Proof of insurance must be provided within 5 days of receipt of written request by the holder
         of a vehicle lien.

         C.      The Debtor(s) must timely make all required payments to the chapter 13 trustee.

         D.       Not later than the date on which a plan is filed, file a proposed (i) wage order; (ii) Order for
         EFT Payments (Online Banking) and Debtor's Certification; or (iii) Order for ACH Payments and
         Debtor's Certification, each in the form approved by the Court.

       2.       As additional adequate protection for the interest of the lien holder(s), the lien holder(s) are
granted a claim pursuant to § 503(b)(1). This lien is intended to be of the type described in § 507(b) of the
Bankruptcy Code. The amount of the claim is equal to 1.25% of the value of the vehicle on the petition date.
The adequate protection payments shall be calculated by the chapter 13 trustee determined as of the date of
the filing of the chapter 13 petition and will be equal to 90% of the "Average Price Paid" stated on the website
www.jdpower.com (utilizing the version available without charge) for a vehicle (without options or mileage
adjustments) located at the first zip code listed for the Debtor on the docket sheet, unless the Court orders
otherwise.

       3.      The Debtor(s) or any other party in interest may object to this order within 30 days of its entry.
If a timely objection is filed, an evidentiary hearing will be conducted at the next chapter 13 panel. The
objecting party is ordered to provide notice of the hearing date, attend the hearing and present evidence in
support of the objection.

Issued and Entered on 12/29/23
